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                               UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF COLORADO

 IN RE:                                                )
                                                       )       Case No. 20-12377-EEB
 SKLAR EXPLORATION COMPANY, LLC                        )
 EIN: XX-XXXXXXX                                       )       Chapter 11
                                                       )
    Debtor.                                            )
                                                       )
                                                       )
                                                       )       Case No. 20-12380-EEB
 SKLARCO, LLC                                          )
 EIN: XX-XXXXXXX                                       )       Chapter 11
                                                       )
 Debtor.                                              )

    SUPPLEMENT TO MOTION FOR CLARIFICATION OF ORDERS AND TO
 AUTHORIZE IMMEDIATE OFFSET OF JOINT INTEREST BILLING OBLIGATIONS

          The Debtors, Sklar Exploration Company, LLC (“SEC”) and Sklarco, LLC (“Sklarco”),
 by and through their attorneys, Kutner Brinen, P.C., state their Supplement to the Motion for
 Clarification of Orders and to Authorize Immediate Offset of Joint Interest Billing Obligations
 (Docket No. 551) (“Offset Motion”) as follows:
          1.    The Debtors filed their Offset Motion on September 4, 2020, seeking clarification
 of certain provisions in the Oil and Gas Order and the Final Cash Collateral Order that
 inadvertently created an artificial justification for working interest holders to refuse to pay Joint
 Interest Billings (“JIBs”).
          2.    The purpose in filing the Offset Motion is to ensure that SEC can continue to
 exercise its rights and collection remedies in accordance with the various Operating Agreements,
 rights and remedies that were inadvertently limited by the language in the Final Cash Collateral
 Order.
          3.    By way of example, the Unit Operating Agreement for the Fishpond Oil Unit,
 attached hereto as Exhibit A, states, in section 11.4 on page 12 and 13, states:
                In addition, upon default by any Working Interest Owner in the
                payment of its share of Unit Expenditures, Unit Operator shall
                have the right without prejudice to other existing remedies, to
                collect from the purchaser the proceeds from the sale of such
                Working Interest Owner's share of Unitized Substances not to

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                  exceed seven-eighths (7/8ths) of the proceeds allocated to the Tract
                  or Tracts in which said Working Interest Owner owns a Working
                  Interest, until the amount owed by such Working Interest Owner,
                  plus interest as aforesaid, has been paid.

        4.        Under the plain language of the Unit Operating Agreement, SEC would have the
 ability to net unpaid JIBs from the production revenue that would otherwise be payable to
 working interest holders subject to receipt of written notice from SEC.
        5.        Similarly the Model Form Operating Agreement for the Cedar Creek Land &
 Timber 4-1 #1 Well, attached hereto as Exhibit B, provides, in Article VII, on page 11, that the
 “Operator shall have the right, without prejudice to other rights and remedies, to collect from the
 purchaser the proceeds from the sale of the [defaulting] Non-Operator’s share of oil and/or gas”
 until the JIBs owed to SEC by the working interest (“WI”) holder have been paid in full.
        6.        The unintended result of heavily negotiated language in the Final Cash Collateral
 is that SEC’s rights to pursue collection of JIBs by netting the unpaid JIBS against the post-
 petition revenue owed to WI holders has been limited to those rare situations where the non-
 compliant WI holder agrees to netting their JIBs against revenue.
        7.        Specifically, the Final Cash Collateral provides, in paragraph 2 starting on page
 11:
        (c) The Budget shall provide, and the Debtors shall, at all times during these Bankruptcy
        Cases, deposit 100% of the revenue received on account of non-operating working
        interests (“WIO Revenue”) into the revenue account maintained by SEC.
        . . . SEC shall account for receipt and deposit of WIO Revenue by working interest owner
        in accordance with best practices for the industry, and may not use funds due to a non-
        insider working interest owner without that owner’s written consent. SEC shall pay WIO
        Revenue to the non-insider working interest holders in accordance with the Order
        Authorizing Payment of Working Interest Obligations and Limited Offset of Joint Interest
        Billing Obligations [Dkt. No. 317], which payments are indefeasible subject to rights and
        obligations under relevant Participation Agreements, Joint Operating Agreements, or
        similar agreements. Subject to the Budget, SEC and a non-insider working interest owner
        may agree in writing to offset any WIO Revenue due to that interest owner against any
        payments due from that WIO to SEC, including pre- and post-petition amounts due.

 (emphasis added)
       8.      As a result of language in the Final Cash Collateral Order, certain WI holders
 have refused to pay their JIBs, knowing that SEC cannot take further collection action against
 their revenue.



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          9.       Since the filing the Offset Motion, SEC has received JIB payments from some WI
 holders, reducing the total balance owed for unpaid JIBS.                       However, certain WI holders
 continued to refuse to pay JIBs, impairing SEC’s cash flow and ability to maintain its ongoing
 operations. As set forth in the updated statement of accounts receivables attached hereto as
 Exhibit C, SEC is owed $1,205,863.03 in past due, unpaid JIBs.1
          10.      As the Debtors have made abundantly clear through the motions filed and at
 hearings in this case, the continued payment of JIBs by WI holders is crucial to SEC’s continued
 operations and successful maintenance of the wells.
          11.      While all of the revenue owed to Sklarco is maintained at SEC for continued
 operations, Sklarco’s revenue amounts to approximately 18% of the total revenue collected by
 SEC for the sale of oil and gas products. Thus, for every $100 collected by SEC for the sale of
 oil and gas, $18 is retained at SEC for use in ongoing operations, while $82 is paid out to other
 interest holders.
          12.      Despite paying out 82% of the revenue collected, SEC remains obligated to pay
 100% of the ongoing expenses of the operations of the wells, and is required to remain current on
 the post-petition expenses.
          13.      Without the ongoing payment of JIBs, or the ability to collect unpaid JIBs from
 post-petition revenue, SEC will be unable to meet its ongoing operating expenses, crippling
 SEC’s reorganization efforts.
 A. Section 553(a) Does Not Excuse the Ongoing Payment of JIBs
          14.      Several of the parties filing objections to the Debtors’ Offset Motion, including
 Fant Energy Limited (“Fant”) and McCombs Energy, Ltd. (“McCombs”), assert that netting JIBs
 against revenue is not warranted, as certain setoff rights exist pursuant to 11 U.S.C. § 553(a).
          15.      Specifically, McCombs asserts that it “properly offset the prepetition debts owed
 to it by the Debtors against its joint interest billing obligations.” (Docket No. 568, ¶ 5).
          16.      Any set off rights asserted by a party are stayed as a result of the bankruptcy filing
 pursuant to 11 U.S.C. § 362(a)(7). Accordingly, any setoff of JIBs against pre-petition revenue
 would constitute a violation of the automatic stay absent entry of an order granting relief from
 stay, and would therefore be void and without effect.

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   The Accounts Receivables statement includes JIBs that are currently owed, for which statements were only
 recently issued. The collection of all receivables is vital to SEC’s ongoing operations; however, the current JIBs are
 not the primary focus of the Offset Motion. Rather the primary focus is the unpaid, pasty-due JIBs.

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        17.     Additionally, any alleged rights of setoff can only apply to pre-petition JIBs, and
 does not relief the obligation for creditors to continue paying JIBs on a post-petition basis. See
 United States v. Myers (In re Myers), 362 F.3d 667, 672 (10th Cir. 2004).
        18.     As such, SEC’s rights and ability to offset JIBs against revenue on a post-petition
 basis cannot be impaired by any alleged right of setoff to the extent such JIBs arise post-petition,
 as such amounts are not subject to setoff in accordance with the plain language of section 553(a).
 B.   Allowing Creditors to Recoup JIBs Against Pre-Petition Revenue Would Lead to
 Inequitable Results, and Would Impair SEC’s Ability to Maintain Operations.
        19.     In the Objection and Joint of JJS Interests Escambia, LLC, JJS Interests, Steele
 King, LLC, and JJS Working Interests, LLC to Motion For Clarification of Orders, and to
 Authorize Immediate Offset of Joint Interest Billing Obligations (Docket No. 569), JJS asserts
 that the equitable remedy of recoupment allows JJS to avoid payment of JIBs where the JIB
 obligation arises out of the same operating agreement as the revenue owed to the WI holder.
        20.     “Recoupment is “narrowly construed” in bankruptcy cases because it violates the
 basic principle of equal distribution to creditors.”     Conoco, Inc. v. Styler (In re Peterson
 Distrib.), 82 F.3d 956, 959-60 (10th Cir. 1996).
        21.     The Tenth Circuit has held that for the doctrine of recoupment to apply, it is not
 sufficient for the obligation between a creditor and the debtor to merely arise out of the same
 contract. Id. at 960. Rather the claims must be so closely intertwined that allowing the debtor to
 avoid its obligation would be inequitable. Alliance Well Serv., LLC v. J.S. Ward & Son, Inc. (In
 re Alliance Well Serv., LLC), 577 B.R.         389, 369 (Bankr. D.N.M. 2017) (quoting In re
 Beaumont, 586 F.3d 776, 781 (10th Cir. 2009)).
        22.     In the present case, it would be inequitable to allow WI holders to recoup their
 unpaid post-petition JIBs against pre-petition revenue, as it would impair SEC’s ability to
 continue to pay its post-petition obligations incurred as a result of operating the wells for the
 benefit of all WI holders, resulting in a diminution of the estate to the detriment of all creditors,
 and would further result in a result in a decrease in the WI holders’ claims ahead of similarly
 situated unsecured creditors.
        23.     SEC acknowledges that the unpaid pre-petition revenue owed to WI holders is an
 obligation that must be addressed in connection with SEC’s assumption of any Operating
 Agreements. However, SEC has not yet moved to assume any Operating Agreements and will

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 likely address assumption or rejection of the agreements in a Plan of Reorganization. Until SEC
 has assumed any of the Operating Agreements, the WI holders remain unsecured creditors.
        24.     Allowing WI holders to recoup post-petition JIBs against pre-petition unpaid
 revenue would allow unsecured creditors to elevate their claims ahead of secured creditors and
 other similarly situated WI holders in violation of the priority scheme that constitutes a “basic
 underpinning of business bankruptcy law.” See Czyzewski v. Jevic Holding Corp., 137 S.Ct.
 973, 983 (2017).
        25.     Additionally, allowing recoupment of post-petition JIBs against pre-petition
 unpaid revenue will deprive SEC of funds necessary to maintain ongoing operations and
 continue to operate the wells for the benefit of all creditor.
        26.     Accordingly, clarification of the Final Cash Collateral Order and the Oil and Gas
 Order, and authorization to allow SEC to immediately offset JIBs against post-petition revenue
 owed to non-compliant WI holders is warranted.
        WHEREFORE, the Debtors pray the Court make and enter an Order clarifying the Oil
 and Gas Order and the Final Cash Collateral Order, authorizing SEC to immediately offset JIBs
 against post-petition revenue owed to non-complaint WI holders, and for such further and
 additional relief as to the Court may appear just and proper.
 DATED: October 21, 2020                                Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        I certify that on October 21, 2020, I served a complete copy of the foregoing
 SUPPLEMENT TO MOTION FOR CLARIFICATION OF ORDERS AND TO
 AUTHORIZE IMMEDIATE OFFSET OF JOINT INTEREST BILLING OBLIGATIONS
 on the following parties in compliance with the Federal Rules of Bankruptcy Procedure and the
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